Case 1:19-cv-02698 Doc Filed 09/09/19 Page 1 of 2

UNITED STATES DEPARTMENT OF COMMERCE
| Under Secretary for Industry and Security
é Washington, D.C. 20230

  

MAY 1 6 2019

Mr. Kevin Schmidt
Director of Investigations
Cause of Action Institute
1875 Eye Street, Suite 800
Washington, DC 20006

Via electronic mail: kevin.schmidt@casueofaction.org
BIS Tracking Number: BIS 19-088

Re: Freedom of Information Act Request

Dear Mr. Schmidt:

This is in response to your April 15, 2019, Freedom of Information Act (FOIA), 5 U.S.C. § 552,
request to the Department of Commerce’s Bureau of Industry and Security (BIS) for “a copy of
the Commerce Secretary’s final report to the President regarding the section 232 investigation on
the effect of imports of uranium on the national security, and the DOD response letter to the
Section 232 investigation on the effect of imports of uranium on the national security.”

We intend to provide all non-exempt documents responsive to your request. Furthermore, please
be advised that the report will be made publicly available via publication in the Federal Register,
pursuant to 15 C.F.R. § 710(c), after the President’s review is complete.

If you have any questions or concerns or would like to discuss any aspect of your request, you
may contact the Bureau’s FOIA Public Liaison:

Grace Agyekum

Bureau of Industry and Security

Office of Planning, Evaluation and Management
1401 Constitution Ave. NW, Room 6622
Washington, DC 20230

Tel: (202) 482-7893

email: grace.agyekum@bis.doc.gov

Please refer to your FOIA request tracking number when contacting us.
In addition, you may contact the Office of Government Information Services (OGIS) at the
National Archives and Records Administration to inquire about the FOIA mediation services

they offer. The contact information for OGIS is as follows:

Office of Government Information Services
National Archives and Records Administration

 
Case 1:19-cv-02698 Document 1-5 Filed 09/09/19 Page 2 of 2

8601 Adelphi Road-OGIS

College Park, Maryland 20740-6001
e-mail at ogis@nara.gov;

telephone at 202-741-5770

toll free at 1-877-684-6448
facsimile at 202-741-5769

You have the right to appeal this decision of your FOIA request. An appeal must be received
within 90 calendar days of the date of this response letter. Address your appeal to the following
office:

Assistant General Counsel for Employment, Litigation and Information
U.S. Department of Commerce

Office of the General Counsel, Room 5896

1401 Constitution Ave., NW

Washington, D.C. 20230

You may also appeal by e-mail to FO[AAppeals@doc.gov or by FOJAonline, if you have an
account in FOTAonline, at https://foiaonline.regulations.gov/foia/action/public/home#. The
appeal should include a copy of the original request and initial denial, if any. All appeals should
include a statement of the reasons why the requested records should be made available and why
the adverse determination was in error.

The appeal letter, the envelope, and the e-mail subject line should be clearly marked “Freedom
of Information Act Appeal.” The e-mail, FOJAonline, and office mail are monitored only on
working days during normal business hours (8:30 a.m. to 5:00 p.m., Eastern Time, Monday
through Friday). FOIA appeals posted to the e-mail box, FOIAonline, or the office after normal
business hours will be deemed received on the next normal business day. If the 90th calendar
day for submitting an appeal falls on a Saturday, Sunday or legal public holiday, an appeal
received by 5:00 p.m., Eastern Time, the next business day will be deemed timely.

Sincerely,

Acting Chief Financial Officer and
Director of Administration
